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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
LAURA LANGFORD,
                                   Petitioner,                           20    CIVIL 4980 (LJL)

                 -against-                                                     JUDGMENT

DIANA BECK,
                                   Defendant.
----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the

Court's Memorandum and Order dated October 27, 2020, the Amended Petition is GRANTED. The Award is

confirmed, and judgment is entered in favor of Petitioner and against Respondents as follows: I. Petitioner is

entitled to immediate and exclusive possession of the Property Known as Condominium Unit 50,438 West 37th

Street, New York, NY I 0018. 2. Petitioner shall have a lien against Respondent's ownership interest in the

Condominium Unit in the amount of $35,619.94 for unreimbursed common charges, assessments and real estate

taxes that Petitioner had or may have to make on Respondent's behalf. 3. Respondent shall pay to Petitioner the

sum of attorneys' fees and related expenses in the amount of $31,288.85. 4. Respondent shall reimburse Petitioner

the sum of $11,012.50, representing the costs and fees for the arbitration that were awarded by the arbitrator. 5.

Respondent shall reimburse Petitioner for attorneys' fees and costs incurred in connection with the Petition and

motion to confirm the award, as well as any costs incurred in enforcing the judgment entered by the Court;

accordingly, the case is closed.

Dated: New York, New York
       October 27, 2020

                                                        RUBY J. KRAJICK

                                                              Clerk of Court
                                                 BY:
                                                              ~1-fio
                                                              Deputy Clerk
